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VIA ECF

Hon. David E. Peebles
United States Magistrate Judge
Federal Building and U.S. Courthouse
100 South Clinton Street
P. O. Box 7345
Syracuse, NY 13261 -7345

              Re       Doe v. Syracuse University, et al
                       Civil Action No.: 5:l 8-CV-00496 IFJS-DEP]

Dear Magistrate Judge Peebles:

        In response to defense counsel's letter to the Court yesterday, Dkt. # 16, requesting a conference,
plaintiffs have no objection. To the extent defendants seek correction of the caption, plaintifß are
confident that the Court in its discretion will apply the "balancing test" referenced in Sealed Plaintiff v.
Sealed Defendant,537 F.3d 185, 190 (2d Cir.2008), in their favor.

        Insofar as prejudice to the defendants in the plaintiffs proceeding anonymously, there is none.
Specifically, the University has all of the information necessary to identify the John Doe plaintiffs based
on: 1) the closed class of respondents charged in the underlying disciplinary matter; and2) the residency
information alluded to in the Complaint and proposed Amended Complaint. Secondly we have already
offered to provide the specific identities of each John Doe plaintiff under seal pursuant to a Stipulation
and Protective Order which defendants rejected.

         Finally with respect to the public's interest in knowing the identities of the John Doe plaintiffs,
the Second Circuit noted in Sealed Plaintffi that the "ultimate test for permitting a plaintiffto proceed
anonymously is whether the plaintiffhas a substantial privacy right which outweighs the customary and
constitutionally-embedded presumption of openness in judicial proceedings." Sealed Plaintffi 537 F.3d
at 189 (quoting Roe v. Aware Woman Ctr. for Choice, Lnc.,253 F.3d 678, 685 (l lth Cir. 2001). Here,
nine and arguably all ten balancing factors outlined in Sealed Plaintiff wanant continued anonymity for
plaintiffs as set forth in the Memorandum of Law submitted in support of their previous motion for a
TRO and preliminary injunction. Dkt. # 5.




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                  We look forward to discussing and litigating this issue with opposing counsel and the Court.

                                                       RespectfullY,




                                                       Karen G. Felter



    cc:            All Counsel of Record via ECF




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